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    20                                             Oftk e oftheUnited StatesAttorney
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                                                   D istrictofN evada
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     Case 2:12-cr-00452-JAD-MDC           Document 5    Filed 12/12/12     Page 2 of 4


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10
     UNITED STATES OF AM ERICA ,                           2:12-cr-00452-M M D-VCF
11
                             Plaintiff,                     EX PARTE M OTION T0 UNSEAL
12                                                          INDICTM ENT ON ARREST OF
                vs.                                         FIRST DEFENDANT
13
     (l!SOLOM ON ZEMEDHUN,
14   (2JDAW IT MOSAZGI,
     (3)SIM ON DEBESSAY and
j5   (4qHENCOK KEFFELEW ,
16                         Defendants.

17

18          C O M ES N O W the U nited States of Am erica, by and through DANIEL G, BOGDEN ,

19   United States Attorney,and Tim othy Vasquez,AssistantUnited States Attolmey, and m oves the

20   Courtto grantan orderunsealing the indictm entin the above captioned m atteron the firstarrestofa

21   defendant'sin thismatter, Thegovernm entanticipatesthatthe FederalBureau ofInvestigation will

22   begin effortsto arrestdefendantsstarting on December l3,2012.Atthetime ofthefirstdefendant's

23   arresta copy ofthe charging docum entwillneed to be provided to defendants and his counselto

24   allow counsel's representation ofthe defendants. Atthatpointthe existenoc ofthe indictmentand


                                                    l
p   $        Case 2:12-cr-00452-JAD-MDC         Document 5       Filed 12/12/12     Page 3 of 4


         1   the defendants willeffectively be known and no reason would existfor continued sealing ofthe

        2    indictment.
         3         Respectfully subm itted this, the 12titday ofD ecem ber,2012.
                                                                                                            !
        4                                .             !

         5                                                      DANIEL G.BOGDEN
                                                                United StatesA ttorney
         6
                                                                 s i o y Vasqu
         7
                                                                TIM OTHY VASQUEZ
         8                                                      A ssistantU nited StatesAttorney

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                     Case 2:12-cr-00452-JAD-MDC             Document 5    Filed 12/12/12   Page 4 of 4
                                                                                                                   !
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                6                                    D ISTR W T OF N E VA D A
                 7                                                -00 0-
                 8   UNITED STATES OF AM ERICA,                               2:12-cr-00452-M M D-VCF

                9                              Plaintiff,                      ORD ER UN SEA LING IN D ICTM EN T
                                                                               ON A RREST OF FIRST D EFEN DA N T
                10               vs.

                11   (l)SOLOM ON ZEMEDHUN,
                     (2)DAW IT M OSAZGL
                12   (3)SIM ON DEBESSAY,and
                     (4)HENCOK KEFFELEW ,
                13

                14                                  Defendants

                15
                            Having reviewed the Governm ent's motion and good cause appeming, IT IS HEREBY
                16
                     ORDERED thatthcindictm entin the instantmatlerisunsealed on the arrestofthetirstdefendant.
                17
                            Dated,this/Q ayofDecember,2012.
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                21                                                       jj       s tys . puoos
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